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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

   IN RE:                                    )           CHAPTER     13
   UHURARAE GARCIA                           )
                                             )           CASENO, 18-5384i-PMB
   DEBTOR                                    )
                                             )

                      NOTICE OF DEPOSIT OF UNCLAIMED F'UNDS

      COMES NOW MELISSA J. DAVEY, CHAPTER 13 TRUSTEE, and files this Notice that
   she is remitting the amount of $461.23 to the Registry of the Clerk of the United States
   Bankruptcy Court on behalf of UHURA RAE GARCIA. These funds are being remitted to the
   Registry because the aforementioned party has not claimed the funds.




                                                     Respectfully submitted,


                                                     Melissa J. Davey
                                                     Standing Chapter 13 Trustee
                                                     Georgia Bar No. 2063 10
                                                     260 Peachtree Street, NW Suite 200
                                                     Atlanta, GA 30303
                                                     (678) 510-1444 Phone
                                                     (678) 510-1450 Fax
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   l8-53841-PMB                     CERTIFICATE OF SERVICE

       This is to certity that I have on this day electronically filed the foregoing Notice of Deposit of
   Unclaimed Funds using the Bankruptcy Court's Electronic Case Filing program, which sends a
   notice of this document and an accompanying link to this document to the following parties who
   have appeared in this case under the Bankruptcy Court's Electronic Case Filing program:


   Howard P. Slomka se@myatllaw.com,
   myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.
   com;S lomkaTRT4 8 78@noti[z.bestcase. com

          I further certiff that on this day I caused a copy of these documents to be served via
   United States First Class Mail with adequate postage prepaid on the following parties set forth
   below at the address shown for each.


   DEBTOR(S):
   UHURA RAE GARCIA
   2807 CARRICK COURT
   POWDER SPRINGS, GA 30127


   February22,2019.


                                                              Respectfu   lly submitted,

                                                              Melissa J. Davey
                                                              Standing Chapter 13 Trustee
                                                              Georgia Bar No. 206310
                                                              260 Peachtree Street, NW Suite 200
                                                              Atlanta, GA 30303
                                                              (678) 510-1444 Phone
                                                              (678) 510-1450 Fax
